Case 4:17-cv-00454-GKF-JFJ   Document 118-4 Filed in USDC ND/OK on 08/03/18   Page 1
                                       of 3




                         EXHIBIT C
      Case 4:17-cv-00454-GKF-JFJ           Document 118-4 Filed in USDC ND/OK on 08/03/18                   Page 2
                                                     of 3

Antonelli, Matthew

From:                             Sawyer, Michael <msawyer@cov.com>
Sent:                             Monday, June 11, 2018 2:30 PM
To:                               Darling, Jeremy B.; Rubman, Gary; Dalton, Rebecca; Swanson, Peter; Roman, Neil;
                                  'dluthey@gablelaw.com'; Fu, Yale
Cc:                               Gill, Robert C.; 'jhodges@hodgeslc.com'; 'Duane Zobrist'; 'Jonathan Jacobs';
                                  Schaufelberger, Thomas S.; Flax, Sherry H.; Platt, Henry A.; Antonelli, Matthew
Subject:                          RE: VGT v. Castle Hill - VGT Discovery Responses


Jeremy,

As I told Bob on Friday, we have been collecting the customer agreements and beginning the production process. While
we expect to begin producing those agreements shortly, we will be making another production early this week that does
not include the agreements.

Best,
Mike



From: Darling, Jeremy B. <Jeremy.Darling@saul.com>
Sent: Monday, June 11, 2018 11:35 AM
To: Sawyer, Michael <msawyer@cov.com>; Rubman, Gary <grubman@cov.com>; Dalton, Rebecca <RDalton@cov.com>;
Swanson, Peter <pswanson@cov.com>; Roman, Neil <nroman@cov.com>; 'dluthey@gablelaw.com'
<dluthey@gablelaw.com>; Fu, Yale <yfu@cov.com>
Cc: Gill, Robert C. <Robert.Gill@saul.com>; 'jhodges@hodgeslc.com' <jhodges@hodgeslc.com>; 'Duane Zobrist'
<dzobrist@zoblaw.com>; 'Jonathan Jacobs' <jjacobs@zoblaw.com>; Schaufelberger, Thomas S. <tschauf@saul.com>;
Flax, Sherry H. <Sherry.Flax@saul.com>; Platt, Henry A. <Henry.Platt@saul.com>; Antonelli, Matthew
<matt.antonelli@saul.com>
Subject: RE: VGT v. Castle Hill - VGT Discovery Responses


Mike:

This will confirm your discussion on Friday in Chicago with Bob Gill during which you agreed that the below-referenced
agreements with VGT customers would be produced in VGT’s next document production.

Regards,

Jeremy



                               Jeremy B. Darling
                               SAUL EWING ARNSTEIN & LEHR LLP
                               One PPG Place, Suite 3010 | Pittsburgh, PA 15222
                               Tel: 412.209.2508 | Fax: 412.209.2592
                               jeremy.darling@saul.com | www.saul.com

* Please note that our Firm name and my email address have changed.
                                                           1
     Case 4:17-cv-00454-GKF-JFJ                             Document 118-4 Filed in USDC ND/OK on 08/03/18                                              Page 3
                                                                      of 3



From: Darling, Jeremy B.
Sent: Saturday, May 26, 2018 5:46 PM
To: 'Fu, Yale'; 'Sawyer, Michael'; 'Rubman, Gary'; 'Dalton, Rebecca'; 'Swanson, Peter'; 'Roman, Neil';
'dluthey@gablelaw.com'
Cc: Gill, Robert C.; 'jhodges@hodgeslc.com'; 'Duane Zobrist'; 'Jonathan Jacobs'; Schaufelberger, Thomas S.; Flax, Sherry
H.; Platt, Henry A.; Antonelli, Matthew
Subject: VGT v. Castle Hill - VGT Discovery Responses

Counsel:

Please produce copies of all sale and lease agreements with VGT customers. These documents were specifically
requested on March 9, 2018 in Castle Hill’s Second Request for Production of Documents and Things. See RFP No. 77
(“Copies of all contracts or agreements for the sale or lease of VGT electronic gaming machines that are the subject of
this litigation from January 1, 2013, to present with any casino or other third party.”). Following our review, we have
only been able to locate a single lease agreement produced to date. See VGT0011135. To the extent any others have
been produced, please identify them by Bates number. Otherwise, please produce any responsive documents
immediately.

Regards,

Jeremy



                                            Jeremy B. Darling
                                            SAUL EWING ARNSTEIN & LEHR LLP
                                            One PPG Place, Suite 3010 | Pittsburgh, PA 15222
                                            Tel: 412.209.2508 | Fax: 412.209.2592
                                            jeremy.darling@saul.com | www.saul.com

* Please note that our Firm name and my email address have changed.




"Saul Ewing Arnstein & Lehr LLP (saul.com)" has made the following annotations:
+~~~~~~~~~~~~~~~~~~~~~~~+
This e-mail may contain privileged, confidential, copyrighted, or other legally protected information. If you are not the intended recipient (even if the e-mail address
is yours), you may not use, copy, or retransmit it. If you have received this by mistake please notify us by return e-mail, then delete.
+~~~~~~~~~~~~~~~~~~~~~~~~+




                                                                                   2
